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                               UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA

SATCOMM,

          Petitioner,

VS.                                                           Case 5:19-mc-00010-MTT

PAYPAL, and
DANIEL H. SCHULMAN,

          Respondents.


                       RESPONDENTS' MEMORANDUM IN OPPOSITION
                       TO MOTION TO CONFIRM ARBITRATION AWARD

          Respondents, PAYPAL, INC. (incorrectly identified in Petitioner's filings [Doc. 1] as

PayPal Holding Corporate and PayPal, LLC) and DANIEL H. SCHULMAN (collectively,

"Respondents" or "PayPal"), hereby respond to what appears to be a Motion to Confirm a

fraudulent "Final Arbitration Award" ("Motion to Confirm") issued by Sitcomm Arbitration

Association ("SITCOMM") in favor of an entity identified only as "SATCOMM." The motion

was filed by SATCOMM pro se, by a non-attorney identified only as "Eeon."1

         The motion should be denied for a multitude of reasons, including:

         1.         The Petitioner identified as SATCOMM, presumably the foreign entity known as

SATCOMM LLC, is not represented by an attorney as required by clearly established law;

         2.         The Petitioner has not demonstrated any agreement to arbitrate in front of the sham

arbitration company known as SITCOMM ARBITRATION ASSOCIATION ("SITCOMM").




 Eeon appears to be one of many reported aliases of "sovereign citizen" Bret Jones a/lc/a Keefe Branch a/lc/a Brett
Randoff Toriano Keeffe Henry Kana-Shaphel Hithrappes Jones-Theophilus.
See https://www.co.monterey.ca.us/home/showdocument?id=77940


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       3.       The Respondents were not given proper notice of the underlying arbitration

proceeding; and

       4.       The illegitimate arbitration award is arbitrary and capricious, and enforcement

would be against public policy.

       I.       Statement of Facts

       PayPal is informed and believes that SITCOMM is an "a sham arbitration organization that

uses the guise of legitimacy to market itself as an authorized and legitimate arbitration company

to attract paying customers and collect fees." See PennyMac Loan Services v. Sitcomm, et al., No.

2:19-cv-193-KS-MTP, Complaint, Dkt. No. 1 (December 11, 2019 E.D. Miss.) SITCOMM has

been known to issue:

       exorbitant final arbitration awards against various entities, despite no arbitration
       hearing having ever been held, no arbitration provision existing that permits the
       parties to arbitrate their claims, and without proper notice or an opportunity for any
       party to be heard. Its final arbitration awards consist of variations of a standard form
       that fail to reference any specific details of the case, basis for wrongdoing, or
       outline the claims asserted against the various respondents. ... SITCOMM then
       instructs its paying customers to attempt to enforce SITCOMM's six and seven-
       figure arbitration awards by filing petitions to confirm arbitration awards in various
       district courts throughout the United States, including Mississippi, New Mexico,
       Virginia, Oklahoma, and Texas, oftentimes despite none of the parties having any
       nexus to the selected venue. Plaintiff is informed and believes, and on that basis
       alleges that SITCOMM does not provide proper notice of the arbitrations to the
       respondents, does not actually conduct arbitrations, does not hear testimony or
       evidence, and does not evaluate claims of the claimants. Moreover, SITCOMM
       "conducts" these arbitrations in cases where there is no agreement to arbitrate
       between the parties.
       * * *


       Instead, SITCOMM sends false and vague notices of arbitration to respondents that
       do not contain the actual location of the arbitration or the claims sought to be
       arbitrated and "conducts" arbitrations with the expectation that no party will be able
       appear, thereby clearing an unobstructed path for SITCOMM and its customers to
       reduce fake arbitration awards to judgment before the creditor companies are able
       to appear and oppose the petitions seeking to confirm the arbitration awards. The
       final arbitration awards contain numerous discrepancies and purport to award the


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       claimants hundreds of thousands or millions of dollars, without identifying any
       specific wrongdoing or basis for the award.

       Id.

       Consistent with the above scheme, on September 30, 2019, PayPal received a purported,

"Notice of Arbitration Hearing" ("Purported Notice") from SITCOMM, bearing an alleged date

of September 11, 2019, and claiming to provide notice of an arbitration set to occur on September

25, 2019—notably before PayPal ever received notice of any "hearing"—between PayPal and

"SATCOMM et al." as well as "EEON et al." See Declaration of Lyndsey C. Heaton In Support

of Respondents' Memorandum in Opposition to Motion to Confirm Arbitration Award ("Heaton

Decl.") at   ¶ 2. Despite the claims made in the Purported Notice and despite the falsified contract
number listed on that document and the identification of PayPal as a "Respondent," PayPal has

never agreed to arbitrate any claims—with SATCOMM, EEON, or any other party—using

SITCOMM. See Heaton Decl., ¶ 12.

       After receiving the Purported Notice, PayPal wrote to SITCOMM via email and U.S. Mail

on October 9, 2019, informing SITCOMM and the purported "claimants" that PayPal has not

agreed to arbitrate any claims before SITCOMM and that PayPal does not recognize the authority

of SITCOMM to adjudicate, arbitrate, or decide any matter with respect to PayPal and/or the use

of its services. See Heaton Decl.,   ¶ 3. While many aspects of the Purported Notice were suspect
(including its arrival after the date of the purported hearing, and claiming to provide only a two

week notice of an arbitration hearing) SITCOMM's assertion in the Purported Notice that "If a

Response is not received, the Arbitrator will presume your acceptance and proceed to review the

supporting documentation electronically and issue a binding decision " was particularly odd and

draconian. See Heaton Decl., ¶ 2.




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       There being no agreement whatsoever in which PayPal agreed to arbitrate claims before

SITCOMM (and, tellingly, the purported "claimants" attached none to their Purported Notice, the

"binding award" nor their Motion to Confirm filed in this matter) PayPal objected to the decision

of any SITCOMM arbitrator, or with SITCOMM's authority in general. See Heaton Decl., IN 3, 6.

       Undeterred, three days after PayPal sent its letter regarding the "Notice of Dispute",

SITCOMM mailed its falsified "Final Arbitration Award" (hereinafter referred to as the

"Illegitimate Award"), backdated to reflect September 25, 2019 as the date of the award. See

Heaton Decl., ¶ 4. The USPS tracking information, however, showed that the Illegitimate Award

was sent on October 12, 2019. See Heaton Decl., ¶ 5. In the Illegitimate Award, SITCOMM falsely

claimed that PayPal entered into an agreement with SATCOMM and EEON on March 25, 2018,

which included an agreement to arbitrate claims with SITCOMM. See Heaton Decl., ¶ 4. PayPal

responded to the Illegitimate Award via a second letter dated October 24th, 2019, objecting

generally and specifically to the alleged arbitrator's finding in the Purported Award that PayPal

agreed to a contract between itself and SATCOMM and/or EEON through "tacit acquiescence,"

citing the law that "silence does not, except in unusual circumstances ... constitute acceptance of

an offer to enter into a contract." See Heaton Decl., ¶ 6; Shennard v. United States, No. 11-295C,

2011 WL 6370078, *5 (Fed. Cl. Dec. 20, 2011) (citing Radioptics, Inc. v. United States, 621 F.2d

1113, 1121 (Ct. Cl. 1980) ("Silence may not be construed as an acceptance of an offer in the

absence of special circumstances existing prior to the submission of the offer which would

reasonably lead the offeror to conclude otherwise.")); see also Restatement (Second) Contracts §

69 cmt. a (1981) ("The mere receipt of an unsolicited offer does not impair the offeree's freedom

of action or inaction or impose on him any duty to speak."). There are no such exceptional




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circumstances here, and that even the Illegitimate Award itself admits that: "[a] prior relationship

did not exist between the parties." See Doc. 1-3 at page. 4 of 7.

        PayPal's alleged prior lack of response to communications from SITCOMM, SATCOMM,

and/or EEON (if any exist) cannot be construed as any sort of acceptance or agreement with the

purported "claimants," the decision of any SITCOMM arbitrator, or with SITCOMM's authority

in general. PayPal also noted in its October 24, 2019 letter that it rejected the arbitrator's claim

that the Purported Award is enforceable in any of the state or federal courts in the United States.

See Heaton Decl., ¶ 6. PayPal further denied each and every material allegation, both specifically

and generally, of each claim contained in the Purported Notice and the Illegitimate Award and

further denied that SATCOMM and/or EEON have been damaged by PayPal, that SATCOMM

and/or EEON have any claim against PayPal, and that the SATCOMM and/or EEON are entitled

to any of the relief sought in the Notice and awarded in the Purported Award. Id. PayPal further

specifically denied it is liable to SATCOMM and/or EEON for any claims or any sum or sums

whatsoever. Id. PayPal also specifically rejected the claim made in the Illegitimate Award that the

Arbitrator "reviewed all contractual agreements and documentary evidence submitted by the

parties in this matter" as it is PayPal's position that likely no hearing was held and no documents

existed for review. Id.

       Consistent with the findings of two other Federal Courts that reviewed similar SITCOMM

awards, the Illegitimate Award is "a bizarre jumble of inconsistent, nonsensical word salad" full

of "legally bizarre determination[s] contrary to hornbook contract law." Kalmowitz v. Fed. Home

Mortgage Corp., et aL , 2019 WL 6249298, at *1 (E.D.Tex. Oct. 22, 2019) (quoting Nichols, 2019

WL 4276995, at *4), report and recommendation adopted at 2019 WL 6249426 (E.D. Tex. Nov.

21, 2019). Another court noted that the "purported arbitration awards are unlike any other [the]



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court has ever seen." U.S. Bank Nat'l Ass;n v. Nichols, No. 19-CV-482-JED-FHM, 2019 WL

4276995, at *3 (N.D. Okla. Sept. 10, 2019).

       Following the Illegitimate Award, SITCOMM also mailed to PayPal two "invoices" related

to the Illegitimate Award, one dated October 22, 2019, and the second dated November 20, 2019,

claiming that PayPal owes an outrageous $10,000,000. See Heaton Decl., ¶¶ 7-8. Notably, while

the postmark on the October 22nd "invoice" shows it was mailed on October 23rd, the envelope

bears a backdated electronic stamp from January 14, 2019. Id.

       All of the above is consistent with the scheme recognized by other courts as being um-elated

in any way to a legitimate arbitration process.

       Further, PayPal's business records include at least one account held by SATCOMM, which

was created on June 5, 2017 with an address matching that used by SITCOMM in some of its fake

arbitration documents-18429 Veterans Memorial Drive East, Suite 8174, Bonney Lake, WA—

and which user account is controlled, at least in part, by a user going by the name "eeon." See

Heaton Decl., in 9, 11. The sharing of an address between SATCOMM and SITCOMM provides

further evidence of the illegitimate nature of the arbitration and the alleged "award" entered.

       II.     Legal Argument

       A.      Lack of Counsel for Artificial Entity

       As a threshold matter, SATCOMM cannot appear in federal court unless it is represented

by counsel. The "Petitioner" identifies itself only as "SATCOMM" and as headquartered in the

State of Washington. The only such entity registered by the Washington Secretary of State is

SATCOMM LLC, a foreign limited liability company formed on the Island of Nevis, the treasurer

of which is identified as "EEON." Under clearly established law, a corporation or other artificial

entity cannot appear in federal court unless it is represented by counsel. See, e.g., Rowland v.


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California Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194, 201-02 (1993) ("It has

been the law for the better part of two centuries ... that a corporation may appear in the federal

courts only through licensed counsel."); Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir.

1985) ("The rule is well established that a corporation is an artificial entity that ... cannot appear

pro se, and must be represented by counsel.").

       B.      Lack of Agreement to SITCOMM Arbitration

       Most damningly for SATCOMM, arbitration "is a matter of contract and a party cannot be

required to submit to arbitration any dispute which he has not agreed to so submit." Howsam v.

Dean Witter Reynolds, Inc., 537 U.S. 79, 83 (2002) (quoting Steelworkers v. Warrior & Gulf

Navigation Co., 363 U.S. 574, 582 (1960)). Judicial review of arbitration awards is controlled by

the Federal Arbitration Act (the "FAA"). 9 U.S.C. §§ 1 — 307. The FAA requires that a motion to

confirm an arbitration award must include, among other things, the agreement containing the

arbitration clause. 9 U.S.C. § 13(a). Nowhere in SATCOMM's motion is the purported agreement

by which the Respondents consented to arbitration before SITCOMM. By failing to attach the

purported agreement obligating the parties to consent to SITCOMM arbitration, Petitioner has not

met the minimum requirements under the FAA for confirmation of an arbitration award.2

       C.      Lack of Proper Notice

       Petitioners' Motion to Confirm should further be denied, and the Illegitimate Award should

be vacated, on the grounds that Respondents did not receive notice of the hearing. As set forth in




2Moreover, in the event a legitimate dispute occurred between SATCOMM and PayPal, the actual
agreement between the parties calls for an arbitration specifically with the American Arbitration
Association ("AAA"). "Section 5 of the FAA expressly provides that where a method for
appointment [of an arbitrator] is set out in the arbitration agreement, the agreed upon method of
appointment shall be followed." PoolRe Ins. Corp. v. Organizational Strategies, Inc., 783 F.3d
256, 263 (5th Cir. 2015).
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the statement of facts above, not only was the notice backdated, and not received until after the

purported hearing, but the notice didn't even provide a location for the hearing. "[A]11 parties in

an arbitration proceeding are entitled to notice and an opportunity to be heard." Brown v. Ally

Financial Inc., Case No. 2:18-CV-70-KS-MTP (S.D. Miss. Dec. 10, 2019), citing Harris v. Parker

Coll. Of Chiropractic, 286 F.3d 790, 792 (5th Cir. 2001), quoting Bernstein Seawell & Kove v.

Bosarge, 813 F.2d 726, 729 (5th Cir. 1987).

       D.      The Illegitimate Award is Arbitrary and Capricious, and Enforcement Would
               Be Contrary to Public Policy

       In addition to the statutory grounds set forth in the Federal Arbitration Act, the Eleventh

Circuit has recognized two additional non-statutory bases upon which an arbitration award may be

vacated. First, an arbitration award may be vacated if it is arbitrary and capricious. Ainsworth v.

Skurnick, 960 F.2d 939, 941 (11th Cir. 1992), cert. denied, 507 U.S. 915 (1993); Raiford v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 903 F.2d 1410, 1413 (11th Cir.1990); United States Postal

Serv. v. National Ass'n of Letter Carriers, 847 F.2d 775, 778 (11th Cir.1988). Second, an

arbitration award may be vacated if enforcement of the award is contrary to public policy. Delta

Air Lines, Inc. v. Air Line Pilots Ass'n, 861 F.2d 665, 671 (11th Cir.1988), 1459*1459 cert. denied,

493 U.S. 871 (1989); U.S. Postal Service, 847 F.2d at 777. Both apply here.

       In this case, the Illegitimate Award is arbitrary and capricious, and against public policy

for all of the reasons set forth in the statement of facts above, including: (a) that SITCOMM is a

sham arbitration organization that uses the guise of legitimacy to market itself as an authorized

and legitimate arbitration company to attract paying customers and collect fees; (b) that

SITCOMM and SATCOMM share a common address and are both connected with "Eeon;" (c)

that Respondents received no notice of the alleged arbitration hearing until after the sham hearing

allegedly occurred; (d) that the notice does not contain an address for the hearing; (e) that the

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Illegitimate Award contains a falsified contract number; (f) that PayPal has never agreed to

arbitrate any claims before SITCOMM; and (g) that the award was for the draconian amount of

$10,000,000 with no legitimate factual or legal basis.

        E.     Petitioners Should Be Sanctioned

        Several cases involving "Sitcomm Arbitration Association" have been filed recently. See,

e.g. Memorandum Opinion and Order and Order to Show Cause, Brown v. Ally Financial, Inc.,

Civil Action No. 2:18-CV-70-KS-MTP (S.D. Miss. Dec. 10, 2019); Motion to Confirm Arbitration

Award, Teverbaugh v. Lima One Capital, LLC, No. 2:19-MC-159-KS-MTP (S.D. Miss. Oct. 23,

2019), ECF No. 1; Complaint, Imperial Indus. Supply Co. v. Thomas, No. 2:19-CV-129-KS-MTP

(S.D. Miss. Sept. 13, 2019), ECF No. 1; U. S. Bank Nat'l Ass'n v. Nichols, 2019 WL 4276995

(N.D. Okla. Sept. 10, 2019). All the cases share the same "bizarre jumble of inconsistent,

nonsensical word salad" presented as if it were legitimate legal argument. Id. at *2. Given this

pattern of abuse, SATCOMM and "Eeon" should be required to show cause why they should not

be sanctioned by having attorney's fees assessed against them. See Alyeska Pipeline Service Co.

v. Wilderness Society, 421 U.S. 240, 258-59, 95 S.Ct. 1612, 1622, 44 L.Ed.2d 141 (1975) (federal

courts have the inherent power to assess sanctions when a party has "acted in bad faith, vexatiously,

or for oppressive reasons.").

       Wherefore, Respondents ask this court to deny the Motion to Confirm Arbitration Award,

vacate the purported arbitration award, and issue an order to show cause why SATCOMM and

"Eeon" should not be sanctioned.




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       Dated this 23rd day of December, 2019.


                                            ADAMS AND REESE LLP

                                           /s/ Amy L. Hanna Keeney
                                           Amy L. Hanna Keeney
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                               CERTIFICATE OF SERVICE

       I, Amy L. Hanna Keeney, certify that the foregoing document has been filed with the Court

and served electronically via this Court's CM/ECF System upon registered users and/or via First

Class U.S. Mail upon the following:

       SATCOMM
       18249 East Veterans Memorial Drive
       Suite 8174
       Bonney Lake, WA 98391

       This 23rd day of December, 2019.

                                              ADAMS AND REESE LLP

                                              /s/ Amy L. Hanna Keeney
                                              Amy L. Hanna Keeney
                                              Georgia Bar No. 509069
                                              Counselfor Respondents




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